Case 3:18-bk-31355      Doc 41   Filed 10/19/18 Entered 10/22/18 10:23:56          Desc Main
                                 Document     Page 1 of 2



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: October 19, 2018



________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

In re:                                          :CASE NO: 18-31355
                                                : (Chapter 13)
Bruce Merrill Slaton                            :JUDGE: BETH A. BUCHANAN
                                                :
                              Debtor            :
_____________________________________________________________________________
   ORDER DISMISSING DEBTOR’S CASE FOR NO RESPONSE TO CHAPTER 13
TRUSTEE’S MOTION TO DISMISS (Doc. 40) and BARRING DEBTOR FOR 180 DAYS
                     PURSUANT TO AGREED ORDER (Doc. 33)
_____________________________________________________________________________


        This matter is before the Court upon the Chapter 13 Trustee’s Motion to Dismiss for
Material Default (Doc. 40). As no timely response has been filed by any party,

IT IS ORDERED:

    1) The Debtor’s case be and hereby is dismissed;
    2) Said dismissal shall be pursuant to 11 U.S.C. §109(g)(1), thus barring the Debtor for a
Case 3:18-bk-31355       Doc 41     Filed 10/19/18 Entered 10/22/18 10:23:56      Desc Main
                                    Document     Page 2 of 2


       period of 180 days from the entry of this order, subject to the Agreed Order (Doc. 33)
       Resolving Objection to Debtor’s Plan Filed May 29, 2018 (Doc. 22) and Motion for
       Relief From Stay Filed June 14, 2018 (Doc. 24) by PNC Bank, N.A., at paragraph 7.



IT IS SO ORDERED.

Submitted by:

___/S/_Jeffrey M. Kellner________
Jeffrey M. Kellner 0022205
Chapter 13 Trustee
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Dayton, OH 45402
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Email: chapter13@dayton13.com




Copies:

   All Creditors and Parties in Interest.
